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                      EXHIBIT 3




                                                          GEO-CHEN 000001
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Preface                             0                              PBNDS 2011
                                                          GEO-CHEN 000002




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                                                 Preface

In keeping with our commitment to transform the             limited English proficiency, improve the process for
immigration detention system, U.S. Immigration and          reporting and responding to complaints, and
Customs Enforcement (ICE) has revised its detention         increase recreation and visitation.
standards. These new standards, known as the                The PBNDS 2011 are also drafted to include a range
Performance-Based National Detention Standards              of compliance, from minimal to optimal. As such,
2011 (PBNDS 2011), are an important step in                 these standards can be implemented widely, while
detention reform.                                           also forecasting our new direction and laying the
ICE is charged with removing aliens who lack lawful         groundwork for future changes.
status in the United States and focuses its resources       In closing, I would like to thank the ICE employees
on removing criminals, recent border entrants,              and stakeholders who provided significant input and
immigration fugitives, and recidivists. Detention is        dedicated many hours to revising these standards. I
an important and necessary part of immigration              appreciate the collaboration and support in this
enforcement. Because ICE exercises significant              important mission - reforming the immigration
authority when it detains people, ICE must do so in         detention system to ensure it comports with our
the most humane manner possible with a focus on             national expectations. The PBNDS 2011 are an
                                                            important step in a multiyear process and I look
providing sound conditions and care. ICE detains
                                                            forward to continued collaboration within ICE, with
people for no purpose other than to secure their            state and local governments, nongovernmental
presence both for immigration proceedings and their         organizations, Congress, and all of our stakeholders
removal, with a special focus on those who represent        as we move forward in reforming our detention
a risk to public safety, or for whom detention is           system.
mandatory by law.
The PBNDS 2011 reflect ICE's ongoing effort to tailor
the conditions of immigration detention to its
unique purpose. The PBNDS 2011 are crafted to
improve medical and mental health services, increase
access to legal services and religious opportunities,       John Morton
improve communication with detainees with no or             Director




Preface                                                 i                                          PBNDS 2011
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                                   Acronyms and Abbreviations

AFOD: Assistant Field Office Director                     MDR: Multi-Drug Resistant
BIA: DOJ Board of Immigration Appeals                     MOU: Memorandum of Understanding
CBP: DHS Customs and Border Protection                    MSDS: Material Safety Data Sheet
CD: Clinical Director                                     NCCHC: National Commission on Correctional
CDC: Center for Disease Control, Department of            Health Care
Health and Human Services                                 NCIC: National Crime Information Center, Federal
CDF: Contract Detention Facility                          Bureau of Investigation

CMA: Clinical Medical Authority                           NIC: DOJ National Institute of Corrections

COR: Contracting Officer's Representative                 OIC: Officer in Charge

CRCL: DHS Civil Rights and Civil Liberties                OIG: DHS Office of the Inspector General

DHS: Department of Homeland Security                      OPLA: ICE Office of the Principal Legal Advisor

DOJ: Department of Justice                                OPR: ICE Office of Professional Responsibility

DRIL: ICE ERO Detention and Reporting Information         ORR: Office of Refugee Resettlement, Department of
Line                                                      Health and Human Services

DSCU: ICE ERO Detention Standards Compliance              OSHA: Occupational Safety and Health
Unit                                                      Administration, Department of Labor

EOIR: DOJ Executive Office for Immigration Review         PBNDS: Performance-Based National Detention
                                                          Standards
ERO: ICE Enforcement and Removal Operations
                                                          PII: Personally Identifiable Information
FOD: Field Office Director
                                                          PREA: Prison Rape Elimination Act
FSA: Food Service Administrator
                                                          SAFE: Sexual Assault Forensic Examiner
GAB: Grievance Appeals Board
                                                          SANE: Sexual Assault Nurse Examiner
GO: Grievance Officer
                                                          SART: Sexual Assault Response Team
HSA: Health Services Administrator
                                                          SIR: Significant Incident Report
IAO: ICE Air Operations
                                                          SMI: Serious Mental Illness
IDP: Institution Disciplinary Panel
                                                          SMU: Special Management Unit
IGSA: Intergovernmental Service Agreement
                                                          SPC: Service Processing Center
IHSC: ICE Health Services Corps
                                                          SRT: Situation Response Team
JIC: DHS Joint Intake Center
                                                          SRT: Special Response Team
LEP: Limited English Proficiency
LOP: Legal Orientation Program
LPR: Legal Permanent Resident




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5.8 Voluntary Work                                             good order of the facility.
                                                           2. Detainees shall be able to volunteer for work
    Program                                                   assignments but otherwise shall not be required
                                                              to work, except to do personal housekeeping.
I. Purpose and Scope
                                                           3. Essential operations and services shall be
This detention standard provides detainees                    enhanced through detainee productivity.
opportunities to work and earn money while
                                                           4. The negative impact of confinement shall be
confined, subject to the number of work
                                                              reduced through decreased idleness, improved
opportunities available and within the constraints of
                                                              morale and fewer disciplinary incidents.
the safety, security and good order of the facility.
                                                           5. Detainee working conditions shall comply with
While not legally required to do so, ICE/ ERO
                                                              all applicable federal, state and local work safety
affords working detainees basic Occupational Safety
                                                              laws and regulations.
and Health Administration (OSHA) protections.
                                                           6. There shall be no discrimination regarding
This detention standard applies to the following
                                                              voluntary work program access based on any
types of facilities housing ICE/ERO detainees:
                                                              detainee’s race, religion, national origin, gender,
  •	 Service Processing Centers (SPCs);                       sexual orientation or disability.
  •	 Contract Detention Facilities (CDFs); and             7. The facility shall provide communication
                                                              assistance to detainees with disabilities and
  •	 State or local government facilities used by             detainees who are limited in their English
     ERO through Intergovernmental Service                    proficiency (LEP). The facility will provide
     Agreements (IGSAs) to hold detainees for more            detainees with disabilities with effective
     than 72 hours.                                           communication, which may include the
Procedures in italics are specifically required for           provision of auxiliary aids, such as readers,
SPCs, CDFs, and Dedicated IGSA facilities. Non-               materials in Braille, audio recordings, telephone
dedicated IGSA facilities must conform to these               handset amplifiers, telephones compatible with
procedures or adopt, adapt or establish alternatives,         hearing aids, telecommunications devices for deaf
provided they meet or exceed the intent represented           persons (TTYs), interpreters, and note-takers, as
by these procedures.                                          needed. The facility will also provide detainees
                                                              who are LEP with language assistance, including
Various terms used in this standard may be defined
                                                              bilingual staff or professional interpretation and
in standard “7.5 Definitions.”
                                                              translation services, to provide them with
II. Expected Outcomes                                         meaningful access to its programs and activities.
                                                               All written materials provided to detainees shall
The expected outcomes of this detention standard
                                                               generally be translated into Spanish. Where
are as follows (specific requirements are defined in
                                                               practicable, provisions for written translation shall
“V. Expected Practices”).
                                                               be made for other significant segments of the
1. Detainees may have opportunities to work and                population with limited English proficiency.
   earn money while confined, subject to the
                                                               Oral interpretation or assistance shall be provided
   number of work opportunities available and
                                                               to any detainee who speaks another language in
   within the constraints of the safety, security and
                                                               which written material has not been translated or


5.8 | Voluntary Work Program                            405	                                          PBNDS 2011
                                                                                             (Revised
                                                                                              GEO-CHENDecember
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   who is illiterate.                                        perimeter of non-dedicated IGSA facilities.

III. Standards Affected                                      In SPCs, CDFs, and dedicated IGSAs, low custody
                                                             detainees may work outside the secure perimeter on
This detention standard replaces “Voluntary Work             facility grounds. They must be directly supervised at
Program” dated 12/2/2008.                                    a ratio of no less than one staff member to four
This detention standard incorporates the                     detainees. The detainees shall be within sight and
requirements regarding detainees’ assigned to work           sound of that staff member at all times.
outside of a facility’s secure perimeter originally          C. Personal Housekeeping Required
communicated via a memorandum to all Field Office
Directors from the Acting Director of U.S.                   Work assignments are voluntary; however, all
Immigration and Customs Enforcement (ICE)                    detainees are responsible for personal housekeeping.
Enforcement and Removal Operations (ERO)                     Detainees are required to maintain their immediate
(11/2/2004).                                                 living areas in a neat and orderly manner by:
IV. References                                               1. making their bunk beds daily;
                                                             2. stacking loose papers;
American Correctional Association, Performance-
based Standards for Adult Local Detention                    3. keeping the floor free of debris and dividers free
Facilities, 4th Edition: 4-ALDF-5C-06, 5C-08, 5C­               of clutter; and
11(M), 6B-02.                                                4. refraining from hanging/draping clothing,
ICE/ERO Performance-based National Detention                    pictures, keepsakes, or other objects from beds,
Standards 2011:                                                 overhead lighting fixtures or other furniture.
  •   “1.2 Environmental Health and Safety”; and             D. Detainee Selection
  •   “4.1 Food Service.”                                    The facility administrator shall develop site-specific
                                                             rules for selecting work detail volunteers. These site-
V. Expected Practices                                        specific rules shall be recorded in a facility procedure
                                                             that shall include a voluntary work program
A. Voluntary Work Program
                                                             agreement. The voluntary work program agreement
Detainees shall be provided the opportunity to               shall document the facility’s program and shall be in
participate in a voluntary work program. The                 compliance with this detention standard.
detainee’s classification level shall determine the type
                                                             The primary factors in hiring a detainee as a worker
of work assignment for which he/she is eligible.
                                                             shall be his/her classification level and the specific
Generally, high custody detainees shall not be given
                                                             requirements of the job.
work opportunities outside their housing
units/living areas. Non-dedicated IGSAs will have            1. Staff shall present the detainee’s name to the shift
discretion on whether or not they will allow                    supervisor or the requesting department head.
detainees to participate in the voluntary work               2. The shift supervisor or department head shall
program.                                                        review the detainee’s classification and other
B. Work Outside the Secure Perimeter                            relevant documents in the detainee’s detention
                                                                file.
ICE detainees may not work outside the secure
                                                             3. The shift supervisor or department head shall


5.8 | Voluntary Work Program                               406                                       PBNDS 2011
                                                                                            (Revised
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   assess the detainee’s language skills because these       H. Hours of Work
   skills affect the detainee’s ability to perform the
   specific requirements of the job under                    Detainees who participate in the volunteer work
   supervision. To the extent possible, work                 program are required to work according to a
   opportunities shall be provided to detainees who          schedule.
   are able to communicate with supervising staff            The normal scheduled workday for a detainee
   effectively and in a manner that does not                 employed full time is a maximum of 8 hours.
   compromise safety and security.                           Detainees shall not be permitted to work in excess of
4. Inquiries to staff about the detainee’s attitude and      8 hours daily, 40 hours weekly.
   behavior may be used as a factor in the                   Unexcused absences from work or unsatisfactory
   supervisor’s selection.                                   work performance may result in removal from the
Staff shall explain the rules and regulations as well as     voluntary work program.
privileges relating to the detainee worker’s status.         I. Number of Details in One Day
The detainee shall be required to sign a voluntary
work program agreement before commencing each                The facility administrator may restrict the number of
new assignment. Completed agreements shall be                work details permitted a detainee during one day.
filed in the detainee’s detention file.                      In SPCs, CDFs, and dedicated IGSAs a detainee may
                                                             participate in only one work detail per day.
E. Special Details
                                                             J. Establishing Detainee Classification
Detainees may volunteer for temporary work details
that occasionally arise. The work, which generally              Level
lasts from several hours to several days, may involve        If the facility cannot establish the classification level
labor-intensive work.                                        in which the detainee belongs, the detainee shall be
F. Discrimination in Hiring Prohibited                       ineligible for the voluntary work program.

Detainees shall not be denied voluntary work                 K. Compensation
opportunities on the basis of such factors as a              Detainees shall receive monetary compensation for
detainee’s race, religion, national origin, gender,          work completed in accordance with the facility’s
sexual orientation or disability.                            standard policy.
G. Detainees with Disabilities                               The compensation is at least $1.00 (USD) per day.
The facility shall allow, where possible, detainees          The facility shall have an established system that
with disabilities to participate in the voluntary work       ensures detainees receive the pay owed them before
program in appropriate work assignments.                     being transferred or released.
Consistent with the procedures outlined in Standard          L. Removal of Detainee from Work Detail
4.8 “Disability Identification, Assessment, and
Accommodation,” the facility shall provide                   A detainee may be removed from a work detail for
reasonable accommodations and modifications to its           such causes as:
policies, practices, and/or procedures to ensure that        1. unsatisfactory performance;
detainees with disabilities have an equal opportunity
                                                             2. disruptive behavior, threats to security, etc.;
to access, participate in, and benefit from the
voluntary work programs.                                     3. physical inability to perform the essential


5.8 | Voluntary Work Program                               407                                         PBNDS 2011
                                                                                             (Revised
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   elements of the job due to a medical condition or        standards.
   lack of strength;                                        The facility administrator shall ensure that all
4. prevention of injuries to the detainee; and/or           department heads, in collaboration with the facility’s
                                                            safety/training officer, develop and institute
5. a removal sanction imposed by the Institution
                                                            appropriate training for all detainee workers.
   Disciplinary Panel for an infraction of a facility
   rule, regulation or policy.                              1. The voluntary work program shall operate in
                                                               compliance with the following codes and
When a detainee is removed from a work detail, the
                                                               regulations:
facility administrator shall place written
documentation of the circumstances and reasons in               a.	 Occupational Safety and Health Administration
the detainee detention file.                                        (OSHA) regulations;
Detainees may file a grievance to the local Field               b. National Fire Protection Association 101 Life
Office Director or facility administrator if they                  Safety Code; and
believe they were unfairly removed from work, in                c.	 International Council Codes (ICC).
accordance with standard “6.2 Grievance System.”
                                                                Each facility administrator’s designee is
M. Detainee Responsibility                                      responsible for providing access to complete and
The facility administrator shall establish procedures           current versions of the documents listed above.
for informing detainee volunteers about on-the-job              The facility administrator shall ensure that the
responsibilities and reporting procedures.                      facility operates in compliance with all applicable
The detainee is expected to be ready to report for              standards.
work at the required time and may not leave an              2. Upon a detainee’s assignment to a job or detail,
assignment without permission.                                 the supervisor shall provide thorough instructions
1. The detainee shall perform all assigned tasks               regarding safe work methods and, if relevant,
   diligently and conscientiously.                             hazardous materials, including:

2. The detainee may not evade attendance and                    a.	 safety features and practices demonstrated by
   performance standards in assigned activities nor                 the supervisor; and
   encourage others to do so.                                   b. recognition of hazards in the workplace,
3. The detainee shall exercise care in performing                  including the purpose for protective devices
   assigned work, using safety equipment and taking                and clothing provided, reporting deficiencies
   other precautions in accordance with the work                   to their supervisors (staff and detainees who
   supervisor’s instructions.                                      do not read nor understand English shall not
                                                                   be authorized to work with hazardous
4. In the event of a work-related injury, the detainee             materials).
   shall notify the work supervisor, who shall
   immediately implement injury-response                           A detainee shall not undertake any assignment
   procedures.                                                     before signing a voluntary work program
                                                                   agreement that, among other things, confirms
N. Detainee Training and Safety                                    that the detainee has received and understood
All detention facilities shall comply with all                     training from the supervisor about the work
applicable health and safety regulations and                       assignment.



5.8 | Voluntary Work Program                             408	                                        PBNDS 2011
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      The voluntary work program agreement,                procedures for immediately and appropriately
      which each detainee is required to sign prior        responding to on-the-job injuries, including
      to commencing each new assignment, shall be          immediate notification of ICE/ERO.
      placed in the detainee’s detention file.             If a detainee is injured while performing his/her
3. For a food service assignment, medical staff, in        work assignment:
   conjunction with the U.S. Public Health Service,        1. The work supervisor shall immediately notify
   shall ensure that detainees are medically screened         facility medical staff. In the event the accident
   and certified before undertaking the assignment.           occurs in a facility that does not provide 24-hour
4. The facility shall provide detainees with safety           medical care, the supervisor shall contact the on-
   equipment that meets OSHA and other standards              call medical officer for instructions.
   associated with the task performed.                     2. First aid shall be administered as necessary.
5. The facility administrator shall ensure that the        3. Medical staff shall determine what treatment is
   facility operates in compliance with all applicable        necessary and where that treatment shall take
   standards.                                                 place.
O. Detainee Injury and Reporting                           4. The work supervisor shall complete a detainee
   Procedures                                                 accident report and submit it to the facility
                                                              administrator for review and processing and file it
The facility administrator shall implement
                                                              in the detainee’s detention file and A-file.




5.8 | Voluntary Work Program                             409                                       PBNDS 2011
                                                                                         (Revised
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7.5 Definitions                                            valuables and other personal property is completed
                                                           during this process.
A-File, Alien File                                         Ambulatory Restraints
The legal file maintained by DHS for each detainee.        “Soft” or “hard” equipment used to restrict a
Contents include but are not limited to the detainee’s     detainee’s movement but leaving him or her able to
identification documents (passport, driver’s license,      eat, drink or attend to basic bodily functions without
other identification cards, etc.), photographs,            staff intervention.
immigration history, prior criminal record if any,
                                                           Ammunition Control Officer (ACO)
and all documents and transactions relating to the
detainee’s immigration case.                               An individual who has been designated in writing as
                                                           the officer responsible for the physical and
ACA
                                                           administrative control of ammunition in the
American Correctional Association.                         authorizing official’s area of accountability.
Administrative Health Authority                            Auxiliary Aids and Services
The administrative authority is responsible for all        Services or devices that allow for effective
access to care, personnel, equipment and fiscal            communication by affording individuals with
resources to support the delivery of health care           impaired vision, hearing, speaking, sensory, and
services.                                                  manual skills an equal opportunity to participate in,
Administrative Segregation                                 and enjoy the benefits of, programs and activities.
                                                           Such aids or services include interpreters, written
A non-punitive form of separation from the general         materials, note-takers, video remote interpreting
population used for administrative                         services, or other effective methods of making
reasons. Administrative segregation is available only      aurally delivered materials available to detainees with
to ensure the safety of detainees or others, the           hearing impairments; readers, taped texts, materials
protection of property, or the security or good order      or displays in Braille, secondary auditory programs,
of the facility, as determined by a facility               or other effective methods of making visually
administrator or supervisor. Administrative                delivered materials available to detainees with visual
segregation may be available, among other reasons,         impairments; acquisition or modification of
for detainees awaiting investigations or hearings for      equipment or devices; and other similar services and
violations of facility rules, detainees scheduled for      actions.
release, removal, or transfer within 24 hours, and,
under more limited circumstances, detainees who            Body-cavity Search
require protective custody or separation from the          The visual inspection or physical probing of body
general population for medical reasons.                    openings (anus, vagina, ears, nose, mouth, etc)
Admission/Admissions Process                               where weapons, drugs, or other contraband could be
                                                           secreted. This is the most intrusive means of
In-processing of newly arrived detainees, which            searching an individual, reserved for instances where
includes an orientation to the policies, programs,         other search techniques have been considered but
rules and procedures of the facility. Classification,      rejected as ineffective under the particular
assignment of living quarters, various inspections,        circumstances of the case. Body-cavity search
medical screening and safeguarding of funds,               procedures govern physical probes, but not visual
                                                           inspections.


7.5 | Definitions                                        464                                        PBNDS 2011
                                                                                         (Revised
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For example, the procedures would not be                      Chronic disease
appropriate for a visual inspection of the inside of          An illness or condition that affects an individual’s
the mouth, nose, or ears, unless contraband is found          well being for an extended interval, usually at least
during the course of that inspection. Body-cavity             six months, and generally is not curable but can be
procedures apply whenever contraband is found,                managed to provide optimum functioning within
because retrieving/seizing the item will involve              any limitations the condition imposes on the
physical entry into or probing within the cavity (in          individual.
this example, the mouth, nose, or ear).
                                                              Chronic disease program (care clinic)
Caustic
                                                              Incorporates a treatment plan and regular clinic
Capable of burning, corroding, eroding or                     visits. The clinician monitors the patient’s progress
destroying by chemical action.                                during clinic visits and, when necessary changes the
Census Check                                                  treatment. The program also includes patient
See Informal Count.                                           education for symptom management.
                                                              Class R (Restricted) Tools
Chain of Command
Order of authority (rank); executive, senior                  Devices to which detainees are forbidden access
management, senior staff, etc. The position titles            except in the presence and constant supervision of
may vary according to the type of facility (SPC, CDF,         staff for reasons of safety or security. Class R includes
or IGSA) and local facility titles. The on-site order of      devices that can be used to manufacture or serve as
authority at a detention facility descends from the           weapons capable of doing serious bodily harm or
facility administrator to assistant or associate facility     structural damage to the facility. All portable power
administrators to department heads to shift                   tools and accessories are in this category. Class R also
supervisors and other supervisors. Similarly, the             includes ladders and other such items that are not
ICE/ERO chain-of-command at a detention facility              inherently dangerous but could prove useful in
descends from the officer–in-charge (OIC) to the              unauthorized activities, such as escape attempts.
associate OIC to the chief detention enforcement              Classification
officer/Chief of Security, detention operations               A process used to make housing and program
supervisor, etc.                                              assignments by assessing detainees on the basis of
Chemical                                                      objective information about past behavior, criminal
A substance with a distinct molecular composition             records, special needs, etc.
produced by or used in a chemical process.
Chief of Security
A generic term for the department head in charge of           Clinical Director (CD)
a detention facility’s security employees and                 A designated individual licensed to practice medicine
operations. The position titles may vary according to         and provide health services with final responsibility
the type of facility (SPC, CDF, or IGSA) and local            for decisions related to medical judgments. A CD
facility titles. Ordinarily, a Chief of Security (chief       and CMA are equivalent positions.
detention enforcement agent, captain, etc.) is
organizationally directly under an assistant or               Clinical Medical Authority (CMA)
associate facility administrator.


7.5 | Definitions                                           465                                        PBNDS 2011
                                                                                             (Revised
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The medical authority is responsible for the delivery       Count Slip
of all health care services to the detainee population.     Documentation of the number of detainees
These services include, but are not limited to,             confirmed present during a population count in a
medical, nursing, dental, mental health and                 specific area, signed by the officers involved in the
nutritional services. A CD and CMA are equivalent           count.
positions.
                                                            Correspondence
Combustible Liquid
                                                            Letters, postcards and other forms of written material
A substance with a flash point at or above 100°             not classified as packages or publications. Large
Fahrenheit.                                                 envelopes containing papers qualify as
Commissary                                                  correspondence, but boxes, sacks and other shipping
An area or system where detainees may purchase              cartons do not. Books, magazines, newspapers and
approved items.                                             other incoming printed matter are not
                                                            “correspondence.”
Contact Visit
                                                            Criminal Alien
A meeting between detainee and another person
authorized to take place in an area free of obstacles       A foreign national convicted of one or more crimes.
or barriers that prevent physical contact.                  Dedicated IGSA Facility (Dedicated IGSA)
Container                                                   An IGSA facility that solely houses ICE
Any bag, barrel, bottle, box, can, cylinder, drum,          detainees. Also see “IGSA FACILITY” and
reaction vessel, storage tank, or other vessel holding      “INTERGOVERNMENTAL SERVICE AGREEMENT.”
a hazardous chemical; does not include pipes or             Detainee Handbook
piping systems.                                             The policies and procedures governing detainee life
Contraband                                                  in the facility: daily operations, rules of conduct,
Any unauthorized item in the facility: illegal,             sanctions for rule violations, recreation and other
prohibited by facility rules, or otherwise posing a         programs, services, etc.; defined in writing and
threat to the security or orderly operation of the          provided to each detainee upon admission to the
facility. This includes unauthorized funds.                 facility.
                                                            Detention File
Contract Detention Facility (CDF)
A facility that provides detention services under a         Contents include receipts for funds, valuables and
                                                            other personal property; documentation of
competitively bid contract awarded by the ICE.
                                                            disciplinary action; reports on detainee behavior;
Contractor                                                  detainee’s written requests, complaints and other
A person who or entity that provides services on a          communications; official responses to detainee
recurring basis pursuant to a contractual agreement         communications; records from Special Management
with the agency or facility.                                Unit, etc.
Control Office                                              Dietician

An officer who directs security activities from the         A professional trained in foods and the management
Control Center.                                             of diets (dietetics) who is credentialed by the
                                                            Commission on Dietetic Registration of the


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American Dietetic Association, or who has the               Disciplinary Segregation
documented equivalent in education, training, or            A punitive form of separation from the general
experience, with evidence of relevant continuing            population used for disciplinary
education.                                                  reasons. Disciplinary segregation is available only
Disability                                                  after a finding by a disciplinary hearing panel that
An individual with a disability is an individual who        the detainee is guilty of a serious prohibited act or
has a physical or mental impairment that                    rule violation.
substantially limits one or more major life activities,     Dry Cell
or an individual who has a history or record of such        A cell or room without running water where a
an impairment. “Major life activities” are basic            detainee can be closely observed by staff until the
activities that a detainee without a disability in the      detainee has voided or passed contraband or until
general population can perform with little or no            sufficient time has elapsed to preclude the possibility
difficulty, including, but not limited to, caring for       that the detainee is concealing contraband. Dry cells
oneself, performing manual tasks, seeing, hearing,          may be used when there is reasonable suspicion that
eating, sleeping, walking, standing, lifting, bending,      a detainee has ingested contraband or concealed
speaking, breathing, learning, reading,                     contraband in a body cavity.
concentrating, thinking, communicating, and
working. A major life activity can also include the         Emergency Changes
operation of major bodily functions, like the               Measures immediately necessary to maintain security
immune, endocrine, and neurological systems;                or to protect the health and safety of staff and
normal cell growth; digestion, respiration, and             detainees.
circulation; and the operations of the bowel,
                                                            Exigent Circumstances
bladder, and brain.
                                                            Any set of temporary and unforeseen circumstances
                                                            that require immediate action in order to combat a
Disciplinary Hearing                                        threat to the security or institutional order of a
Non-judicial administrative procedure to determine          facility or a threat to the safety or security of any
whether substantial evidence supports finding a             person.
detainee guilty of a rule violation.                        Exposure/Exposed
Disciplinary Committee                                      Subjected or potentially subjected to a hazardous
One or more impartial staff members who conduct             substance by any means (inhalation, ingestion, skin
and/or oversee a disciplinary hearing. A lower-level        contact, absorption, etc.)
committee (Unit Disciplinary Committee)                     Face-to-photo Count
investigates a formal Incident Report and may
                                                            A process that verifies identity of each detainee by
impose minor sanctions or refer the matter to a
                                                            comparing every person present with the
higher-level disciplinary committee. A higher-level
                                                            photographic likeness on his/her housing card.
committee (Institution Disciplinary Panel) conducts
formal hearings on Incident Reports referred from           Facility Administrator
the lower level committee and may impose higher             A generic term for the chief executive officer of a
level sanctions for higher level prohibited acts. Also      detention facility. The formal title may vary
see Institution Disciplinary Panel.



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(warden, Officer In Charge, sheriff, jail                  Cash, checks, money orders and other negotiable
administrator, etc.).                                      instruments.
Field Office Directory (FOD)                               Gender nonconforming
Individual with chief responsibility for facilities in     Having an appearance or manner that does not
his assigned geographic area.                              conform to traditional societal gender expectations.
Firearms Control Officer (FCO)                             General Correspondence
Individual designated responsible for the physical         All correspondence other than “special
and administrative control of all firearms under the       correspondence.”
jurisdiction of the authorizing official.                  General Population
Flammability Hazard                                        Detainees whose housing and activities are not
Has a flash point below 200 degrees Fahrenheit,            specially restricted. The term is ordinarily used to
closed cup, or is subject to spontaneous heating.          differentiate detainees in the “general population”
Flammable Liquid                                           from those in Special Housing Units.

A substance with a flash point below 100 degrees
Fahrenheit (37.8 Centigrade).
                                                           Grievance
                                                           A complaint based on a circumstance or incident
Flash Point                                                perceived as unjust.
                                                           Hard Contraband
The minimum temperature at which the vapor of a
combustible liquid can form an ignitable mixture           Any item that poses a serious threat to the life, safety
with air.                                                  or security of the facility detainees or staff.
Food Service Administrator (FSA)                           Health Assessment
The official responsible for planning, controlling,        The process whereby an individual’s health status is
directing and evaluating Food Service Department           evaluated. This process will address the patient’s
operations.                                                physical, dental and mental health appropriate to the
Formal Count                                               patient’s condition and will include, as determined
                                                           by the health care provider, questioning the patient
When the detainee population is assembled at               about symptoms, a physical examination appropriate
specific times for attendance check, conducted in          to the complaint and, as appropriate, review of
accordance with written procedures.                        screening information, collection of additional
Four/Five-point Restraint                                  information relating to mental, dental and medical
                                                           health issues, immunization histories, laboratory and
A restraint system that confines an individual to a
                                                           diagnostic tests, other examinations, review of
bed or bunk in either a supine or prone position.
                                                           results, initiation of therapy and development of a
Ordered by the facility administrator when a
                                                           treatment plan.
detainee’s unacceptable behavior appears likely to
continue risking injury to self or others.                 Health Authority
Funds


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The health services administrator (HSA), clinical            have eaten for 72 hours for medical evaluation and
director (CD), or agency responsible for the                 monitoring.
provision of health care services at a facility or           IGSA Facility (IGSA)
system of facilities. The responsible physician may
be the health authority. Health authority may also be        A state or local government facility used by ERO
referred to as the medical department.                       through an Intergovernmental Service
                                                             Agreement. Also see “INTERGOVERNMENTAL
Health Care Practitioner
                                                             SERVICE AGREEMENT.”
Defined as an individual who is licensed, certified,         Illegal Contraband
or credentialed by a state, territory or other
appropriate body to provide health care services             Any item prohibited by law, the possession of which
within the scope and skills of the respective health         constitutes grounds for felony or misdemeanor
care profession.                                             charges.

Health Hazard
Includes carcinogens, toxic agents, reproductive             Indigent
toxins, irritants, corrosives, sanitizers, hepatotoxins,     Without funds, or with only nominal funds.
nephrotoxins, neurotoxins and other agents that act          Ordinarily, a detainee is considered “indigent” if he
on the hemopoietic system or damage the lungs,               or she has less than $15.00 in his or her account.
skin, eyes, or mucous membranes.
                                                             Informal grievance
Health Screening
                                                             An oral complaint or concern received from a
A system for preliminary screening of the physical           detainee. Informal grievances may be handled at the
and mental condition of individual detainees upon            lowest level in the organization possible to
arrival at the facility; conducted by health care            effectively resolve the complaint with no written
personnel or by a specially health trained officer. The      response.
combination of structured inquiry and observation is
                                                             Informal Count
designed to obtain immediate treatment for new
arrivals who are in need of emergency health care,           Population count conducted according to no fixed
identify and meet ongoing current health needs, and          schedule, when detainees are working, engaged in
isolate those with communicable diseases.                    other programs, or involved in recreational activities.
                                                             Unless a detainee is missing, these counts are not
Hold Room
                                                             reported; also called “census check” or “irregular
A secure area used for temporary confinement of              count.”
detainees before in-processing, institutional
                                                             Informal Resolution
appointments (court, medical), release, transfer to
another facility, or deportation-related                     Brings closure to a complaint or issue of concern to a
transportation.                                              detainee, satisfactory to the detainee and staff
                                                             member involved; does not require filing of a
Hunger Strike
                                                             written grievance.
A voluntary fast undertaken as a means of protest or
                                                             Informed Consent
manipulation. Whether or not a detainee actually
declares that he or she is on a hunger strike, staff are     An agreement by a patient to a treatment,
required to refer any detainee who is observed to not        examination, or procedure after the patient receives


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the material facts about the nature, consequences,           See Informal Count.
and risks of the proposed treatment, examination or          Juvenile
procedure; the alternatives to it; and the prognosis if
the proposed action is not undertaken.                       Any person under the age of 18.

In-processing                                                Least Intrusive

Administrative processing of a detainee arriving at a        In the context of a search, terminology used to refer
detention facility (See “Admissions”).                       to alternative means of finding contraband, such as
                                                             questions, metal detectors, pat down searches and
Institution Disciplinary Panel (IDP)
                                                             boss chairs, prior to conducting a strip search.
Review board responsible for conducting                      Legal Assistant
disciplinary hearings and imposing sanctions for
cases of detainee misconduct referred for disposition        An individual (other than an interpreter) who,
following the hearing. The IDP usually comprises a           working under the direction and supervision of an
hearing officer and representatives of different             attorney or other legal representative, assists with
departments in the facility.                                 group presentations and in representing individual
                                                             detainees. Legal assistants may interview detainees,
Intergovernmental Service Agreement
                                                             assist detainees in completing forms and deliver
A cooperative agreement between ICE and any state,           papers to detainees without the supervisory attorney
territory or political subdivision for the construction,     being present.
renovation or acquisition of equipment, supplies or          Legal Correspondence
materials required to establish acceptable conditions
of confinement and detention services. ICE may               See “special correspondence.”
enter into an IGSA with any such unit of government          Legal File
guaranteeing to provide bed space for ICE detainees,
                                                             See A-File.
and to provide the clothing, medical care, food and
drink, security and other services specified in the          Legal Representative
ICE/ERO detention standards; facilities providing            An attorney or other person representing another in
such services are referred to as “IGSA facilities.”          a matter of law, including law students, law
Intersex                                                     graduates not yet admitted to the bar; “reputable
                                                             individuals”; accredited representatives; accredited
Having sexual or reproductive anatomy or
                                                             officials and attorneys outside the United States (see
chromosomal pattern that does not seem to fit
                                                             8 CFR § 292.1, “Representation and Appearances”).
typical definitions of male or female. Intersex
medical conditions are sometimes referred to as              Leisure-time Activities
disorders of sex development.                                Activities which are designed to provide detainees
Investigating Officer                                        with recreational opportunities both inside and
                                                             outside the living area, e.g., soccer, basketball, chess,
An individual of supervisory or higher rank who
                                                             checkers, television.
conducts an investigation of alleged misconduct and
was not involved in the incident; usually a                  Life-sustaining Procedure (Life Support)
supervisory detention enforcement officer or shift           A medical intervention or procedure that uses
supervisor.                                                  artificial means to sustain a vital function.
Irregular Count


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Limited English Proficiency (LEP)                             period or that be pending; and continuity of care
A person who does not speak English as his or her             plan.
primary language and who has a limited ability to
read, speak, write, or understand English. LEP                Medical Personnel
individuals may be competent in English for certain
types of communication (e.g. speaking or                      Includes all qualified health care professionals as well
understanding), but still be LEP for other purposes           as administrative and support staff (e.g. health record
(e.g. reading or writing).                                    administrators, laboratory technicians, nursing and
                                                              medical assistants, clerical workers).
Mail Inspection
                                                              Mental Health Provider
Examination of incoming and outgoing letters,
packages, etc., for contraband, including cash,               Psychiatrist, clinical or counseling psychologist,
checks and money orders.                                      physician, psychiatric nurse, clinical social worker or
                                                              any other mental health professional who by virtue
Master Count
                                                              of their education, credentials, and experience are
Total number of detainees housed at a facility.               permitted by law to evaluate and care for the mental
Material Safety Data Sheet (MSDS)                             health needs of patients. .

Basic information about a hazardous chemical,                 Messenger
prepared and issued by the manufacturer, in                   A person (neither a legal representative nor a legal
accordance with Occupational Safety and Health                assistant) whose purpose is to deliver or convey
Administration regulations (see 29 CFR 1910.1200;             documents, forms, etc., to and from the detainee;
see also OSHA Form 174); among other things,                  not afforded the visitation privileges of legal
specifies precautions for normal use, handling,               representatives and legal assistants.
storage, disposal and spill cleanup.
                                                              Minor
Medical Classification System
                                                              A juvenile; a person under the age of 18.
A system by which a detainee’s medical and mental
                                                              Mogul keys
health conditions and needs are assessed to allow for
appropriate placement in a facility with the resources        Key and knob operated deadlocking latch/ deadbolt
necessary to provide appropriate level of care to             for use in detention institutions as well as
meet those needs.                                             commercial, government and industrial buildings for
                                                              utmost physical security. The large-scale design
Medical Discharge Plan
                                                              accommodates an oversized latch and deadbolt plus
The discharge plan includes: admission diagnosis;             mogul key cylinder. These institutional grade
discharge diagnosis; brief medical history including          construction features and tamper resistant fittings
the chief complaint and any essential physical                afford exceptional structural strength to impede
findings discovered; all diagnostic test (e.g., x-rays,       forced and surreptitious entry.
lab results, ECG’s, etc) results; list of any medications
                                                              National Commission on Correctional Health Care
prescribed; a brief summary of care provided, the             (NCCHC)
detainee’s response to treatment, medical
complications encountered, any outside health care            Establishes the standards for health service in
referrals that may have interrupted the infirmary             correctional facilities on which accreditation is
                                                              based.


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National Fire Protection Association                         Keys designed to open a paracentric lock. It is
Principal source of fire protection standards and            distinguishable by the contorted shape of its blade,
codes.                                                       which protrudes past the center vertical line of the
                                                             key barrel. Instead of the wards on the outer face of
NCCHC                                                        the lock simply protruding into the shape of the key
National Commission on Correctional Health care.             along the spine, the wards protrude into the shape of
                                                             the key along the entire width of the key, including
Non-Contact Visit
                                                             along the length of the teeth.
Visitation with a barrier preventing physical contact
                                                             Pat-down Search
between the detainee and his or her visitors.
                                                             A sliding or patting of the hands over the clothed
Non-dedicated IGSA Facility (Non-dedicated IGSA)
                                                             body of a detainee by staff to determine whether the
An IGSA facility that houses ICE detainees as well as        individual possesses contraband.
other inmate populations in a shared use
                                                             Physical Examination
facility. Also see “IGSA FACILITY” and
“INTERGOVERNMENTAL SERVICE AGREEMENT.”                       A thorough evaluation of an individual’s physical
                                                             condition and medical history conducted by or
Non-Medical Emergency Escorted Trip
                                                             under the supervision of a licensed medical
Authorized detainee visit to a critically ill member of      professional acting within the scope of his or her
his/her immediate family, or to attend the funeral of        practice.
a member of his/her immediate family. “Immediate
                                                             Plan of Action
family” member refers to a parent (including
stepparent and foster parent), child, spouse, sister, or     Describes steps the facility will take to convert a
brother of the detainee.                                     condition that has caused a determination of
                                                             noncompliance with a standard.
Non-merit Factor
                                                             Post Orders
Any characteristic or factor immaterial to a detainee’s
mental or physical ability to perform a given                Written orders that specify the duties of each
assignment.                                                  position, hour-by-hour, and the procedures the post
                                                             officer will follow in carrying out those duties.
Non-security Key
                                                             Progressive Restraints
A key which if duplicated by unauthorized persons
and/or lost, would not constitute an emergency               Control the detainee in the least restrictive manner
requiring urgent action; not critical to facility safety     required, until and unless the detainee’s behavior
and security.                                                warrants stronger and more secure means of
                                                             inhibiting movement.
Out Count
                                                             Protective Custody (PC)
Detainees temporarily away from the facility, but
accounted for by the facility and included in the            Administrative segregation for the detainee’s own
master count.                                                safety.


                                                             Qualified health care professionals
Paracentric Keys



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Include physicians, physicians assistants, nurses,            doors, of which one cannot open until the other has
nurse practitioners, dentists, mental health                  closed, to prevent a breach in the perimeter security;
professionals and others who by virtue of their               handles pedestrian and/or vehicular traffic.
education, credentials and experience are permitted           Sanitation
by law and within their scope of practice to evaluate
and care for patients.                                        The creation and maintenance of hygienic
                                                              conditions; in the context of food, involves
Reasonable Accommodations
                                                              handling, preparing, and storing items in a clean
Any change or adjustment in detention facility                environment, eliminating sources of contamination.
operations, any modification to detention facility            Satellite Feeding
policy, practice, or procedure, or any provision of an
aid or service that permits a detainee with a disability      Food served and consumed in a location other than
to participate in the facility’s programs, services,          where prepared.
activities, or requirements, or to enjoy the benefits         Security Key
and privileges of detention programs equal to those
                                                              A key which if duplicated by unauthorized persons
enjoyed by detainees without disabilities. Examples
                                                              and/or lost, would jeopardize life, safety, property
of “reasonable accommodations” include, but are not
                                                              or security, or would facilitate escape.
limited to, proper medication and medical treatment;
accessible housing, toilet, and shower facilities;            Segregation
devices like bed transfer, accessible beds or shower          Confinement in an individual cell isolated from the
chairs, hearing aids, or canes; and assistance with           general population; for administrative, disciplinary,
toileting and hygiene. In these standards, reasonable         or protective reasons.
accommodations, disability-related modifications,
and auxiliary aids and services are collectively referred     Service Processing Center (SPC)
to as “accommodations” or “reasonable                         A detention facility the primary operator and
accommodations.”                                              controlling party of which is ICE.
Reasonable Suspicion                                          Shift Supervisor
Not intuition, but specific, articulable facts that would     A generic term for the detention security supervisor
cause a reasonable law enforcement officer to suspect         in charge of operations during a shift. The position
that a particular person is concealing a weapon,              titles may vary according to the type of facility (SPC,
contraband, or evidence of a crime.                           CDF, or IGSA) and local facility titles. Ordinarily, a
Religious Practices                                           shift supervisor (detention operations supervisor,
                                                              lieutenant, etc.) is, organizationally, directly under
Worship, observances, services, meetings,                     the Chief of Security (chief detention enforcement
ceremonies, etc., associated with a particular faith;         agent, captain, etc.).
access to religious publications, religious symbolic
items, religious counseling and religious study
classes; and adherence to dietary rules and                   Soft Contraband
restrictions.                                                 Any unauthorized item that does not constitute hard
Sally Port                                                    contraband, i.e., does not pose a serious threat to
An enclosure situated in the perimeter wall or fence          human safety or facility security; includes that
surrounding the facility, containing double gates or


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quantity of an item possessed in an amount                  Detainees with special vulnerabilities include those
exceeding the established limit.                            who are elderly, pregnant, or nursing; those with
Special Correspondence or Legal Mail                        serious physical or mental illness, or other disability;
                                                            those who would be susceptible to harm in general
Detainees’ written communications to or from any            population due in part to their sexual orientation or
of the following:                                           gender identity; and those who have been victims of
a.	 private attorneys and other legal representatives;      sexual assault, torture, trafficking, or abuse.
b. government attorneys;                                    Strip Search

c.	 judges and courts;                                      A search that requires a person to remove or arrange
                                                            some or all clothing so as to permit a visual
d. embassies and consulates;                                inspection of the person’s breasts, buttocks, or
e.	 the president and vice president of the United          genitalia.
    States;                                                 Terminally Ill Detainee
f.	 members of Congress;                                    A detainee whose physical condition has deteriorated
g. the Department of Justice (including the DOJ             to the point where the prognosis is less than a year
   Office of the Inspector General);                        to live.
h. the Department of Homeland Security (including           TJC
   U.S. Immigration and Customs Enforcement, ICE            The Joint Commission [formerly the Joint
   Health Services Corps, the Office of Enforcement         Commission on Accreditation of Health care
   and Removal Operations, the DHS Office for Civil         Organizations (JCAHO)]
   Rights and Civil Liberties, and the DHS Office of
   the Inspector General);                                  An independent, not-for-profit organization that
                                                            evaluates and accredits more than 15,000 health care
i.	 outside health care professionals;                      organizations and programs in the United States. TJC
j.	 administrators of grievance systems; and                is the Nation’s predominant standards-setting and
                                                            accrediting body in health care.
k. representatives of the news media.
                                                            Toxic
Special Management Unit (SMU)
                                                            Poisonous; capable of causing injury or death.
A housing unit for detainees in administrative or
disciplinary segregation.
Special Needs Detainee
A detainee whose mental and/or physical condition           Trained Investigators
requires different accommodations or arrangements           A person who has been trained in investigative
than a detainee who does not have special needs             techniques to include interview techniques for
would receive. Special needs detainees include, but         victims and proper procedures for collecting and
are not limited to, those detainees who are                 storing evidence.
chronically ill or infirm, those with disabilities, and
                                                            Training
those who are addicted to or in withdrawal from
drug or alcohol.                                            An organized, planned and evaluated activity
Special Vulnerabilities                                     designed to achieve specific learning objectives and



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enhance personnel performance. Training may occur           Negotiable instruments (checks, money orders, etc.)
on site, at an academy or training center, an               or cash in a detainee’s possession exceeding the
institution of higher learning, professional meetings,      facility-established limit.
or through contract service or closely supervised on-       Unauthorized Property
the-job training. Training programs usually include
requirements for completion, attendance records and         Not inherently illegal, but against the facility’s
certification of completion. Meetings of professional       written rules.
associations are considered training where there is         Unit Disciplinary Committee
clear evidence of the direct bearing on job
                                                            See Disciplinary Committee.
performance. In all cases, the activity must be part of
an overall training program.                                Volunteer
Training Coordinator                                        An individual who donates time and effort on a
                                                            recurring basis to enhance the activities and
A person responsible for ensuring all training
                                                            programs of the agency or facility.
requirements are met and documented. This person
will often develop and conduct training.
Transgender                                                 Volunteer Group
A person whose gender identity (i.e., internal sense        Individuals who collectively donate time and effort
of feeling male or female) is different from the            to enhance the activities and programs offered to
person’s assigned sex at birth.                             detainees; selected on basis of personal qualities and
                                                            skills (recreation, counseling, education, religion,
Unencumbered Space
                                                            etc.).
Open, usable space measuring at least seven feet in at
                                                            Work Assignment
least one dimension, free of plumbing fixtures, desk,
locker, bed and other furniture and fixtures                Carpentry, plumbing, food service and other
(measured in operational position).                         operational activities included in the facility’s
                                                            Voluntary Work Program, for which a detainee may
Unauthorized Funds
                                                            volunteer.




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